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                            UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

  UNITED STATES OF AMERICA                               6:21-cr-00198-MC

                v.                                       PRELIMINARY ORDER OF
                                                         FORFEITURE AND FINAL ORDER OF
  ANDREW AARON LLOYD,                                    FORFEITURE AS TO DEFENDANT
                                                         ANDREW AARON LLOYD
                Defendant.



       Defendant, Andrew Lloyd, entered into a plea agreement and pleaded guilty to Counts 1

through 3 of the Information.

       In the forfeiture allegation of the Information in the above case, the United States sought

forfeiture of all property of the defendant, Andrew Lloyd, pursuant to pursuant to 18 U.S.C. ''

982(a)(2), and 982(a)(1), as any property constituting or derived from proceeds defendant

obtained directly or indirectly as a result of the violations charged in Counts 1 and 2; and any

property, real and personal, involved in the offense and all property traceable to such property.


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       Accordingly, it is ORDERED:

       1.    Based upon the defendant, Andrew Lloyd =s, plea of guilty to Counts 1 and 2 of the

Information, and pursuant to Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure and 18

U.S.C. '' 982(a)(2), and 982(a)(1), the United States is authorized to seize the following

property, and it is hereby forfeited to the United States for disposition in accordance with the

law, subject to the provisions of 21 U.S.C. ' 853(n):

   -   All securities and funds held in Fidelity Account xx7802;

   -   Securities and funds held in Charles Schwab Account xx4724, further described as:

             •   140 shares of Square Inc (SQ);

             •   15,450 shares of Tesla Inc (TSLA);

             •   500 Shares of 2U Inc (TWOU);

             •   900 shares of Aberdeen Standard Silver ETF (SIVR);

             •   510 shares of Ark Innovation ETF (ARKK);

             •   All uninvested funds held in the account; and

22 Real Properties, further described below:

   1. 61245 Protsman Street, Bly, Oregon, 97622
      Legal description: Lot 6 in Block 13 of First Addition to Bly according to the official
      plat thereof on file in the office of the County Clerk of Klamath County, Oregon.

   2. 18528 Henwas Loop, Bly, Oregon, 97622
      Legal description: Lot 8, Block 6, First Addition to Bley-Was Heights, according to the
      official plat thereof on file in the office of the County Clerk, Klamath County, Oregon.

   3. 440 3rd Court, Coos Bay, Oregon, 97420
      Legal description: Lot 25, 26 and 27, Block 45, Town of East Marshfield, Coos County,
      Oregon.

   4. 2130 Southwest Blvd, Coos Bay, Oregon, 97420
      Legal description: That part of Lots 2,3 and 4, Block 27, First Addition to Marshfield,
      Coos County, As Described as Follows:
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      Beginning at the Northeast Corner of Lot 2, Block 27, First Addition to the City of
      Marshfield, Coos County, Oregon, Thence South Along the East Line of Said Lot 2 a
      Distance of 120 Feet to the Southeast Corner of Said Lot 2; Thence West Along the
      South Line of Lots 2,3 and 4 of Block 27, A Distance of 128 Feet, More or Less, to the
      East Line of the County Road; Thence North 43 Degrees 41' East a Distance of 165.6
      Feet, More or Less, to the North Line of Block 27; Thence East a Distance of 13.6 Feet,
      More or Less, to the Place of Beginning.
      Lots 22,23 and 24, Block 27, First Addition to Marshfield, Coos County, Oregon, Filed
      September 1, 1911 in Book 4, Page 18, Plat Records of Coos County, Oregon.

   5. 362 N. Elliott Street, Coquille, Oregon, 97423
      Legal description: Lot 3 and North 9 Feet of Lot 4, Block 49, Coquille City, Elliott’s
      Addition, Coos County, Oregon. Together With That Portion of Vacated Elliott Street,
      Which Was Vacated by Ordinance No. 135, Recorded August 14, 1922 IN Book 69, Page
      464, Records of Coos County, Oregon, Which Would Inure Thereto by Reason of the
      Vacation Thereof.

   6. 421 E. First Street, Dorris, California, 96023
      Legal description: The following described property in the City of Dorris, County of
      Siskiyou, State of California:

      PARCEL: I
      All that portion of the Southwest quarter of Section 30, Township 48 North, Range 1
      East, M.D.M., more particularly described as: Beginning at the Southeast corner of the
      said Southwest quarter of Section 30; thence West along the Section line common to
      Sections 30 and 31 of said township and Range, a distance of 165.00 feet; thence North
      2640.00 feet parallel to the North-South center line of the said Section 30 to the point of
      intersection with the North boundary of the said Southwest quarter; thence East along
      said boundary, a distance of 165.00 feet to the point on intersection with the North-South
      center line of the said Section 30; thence South 2640.00 feet along said North-South
      center line to the point of beginning.
      Excepting Therefrom all that portion lying within U.S. Highway 97. Also Excepting
      Therefrom all that portion lying within the Southern Pacific Transportation Company
      Railroad right of way.

      PARCEL: II
      All that portion of the Southeast quarter of the Southwest quarter of Section 30,
      Township 48 North, Range 1 East, M.D.M., more particularly described as: Beginning at
      a point on the Southerly Section line of the said Section 30 which bears West along said
      Section line, a distance of 165.00 feet from the Southeast corner of the said Southwest
      quarter of Section 30; thence West, along said Section line a distance of 140.00 feet;
      thence North, parallel to the North-South center line of the said Section 30, a distance of
      622,30 feet; thence East parallel to the South line of said Section, a distance of 140.00
      feet; thence South, parallel to the North-South center line of said Section 30, a distance of
      622.30 feet to the point of beginning.

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      Excepting Therefrom all that portion lying within U.S. Highway 97.

      PARCEL: III
      All that portion of the Southeast quarter of the Southwest quarter of Section 30,
      Township 48 North, Range 1 East, M.D.M., more particularly described as: Beginning
      at a point on the Southerly Section line of the said Section 30 which bears West along
      said Section line, a distance of 305.00 feet from the Southeast corner of the said
      Southwest quarter of Section 30; thence West along said Section line, a distance of 25.00
      feet; thence North parallel to the North-South center line of said Section 30, to the point
      of intersection with the South Easterly boundary of the Southern Pacific Transportation
      Company railroad right of way; thence Northeasterly along said boundary to a point
      which bears North from the point of beginning; thence South parallel to the North-South
      center line of said Section 30 to the point of beginning.
      Excepting Therefrom all that portion lying within U.S. Highway 97.

      PARCEL: IV
      All that portion of the East half of the Southwest quarter of Section 30, Township 48
      North, Range 1 East, M.D.M., described as: Beginning at the quarter corner common to
      Sections 30 and 31, Township 48 North, Range 1 East, M.D.M., thence West 10 rods;
      thence North 622.3 feet to the true point of beginning; thence West 140.0 feet, thence
      North 2017.7 feet to the North line of the Southwest quarter of said section 30; thence
      east 140.0 feet to a point 10 rods West to the Northeast corner of the Southwest Quarter
      of said Section 30; thence South 2017.7 feet to the true point of beginning.
      Saving and excepting therefrom all that portion of the above described property lying
      within the right of way of the Central Pacific Railroad.

   7. 340 Martin Street, Klamath Falls, Oregon, 97601
      Legal description: Lot 49, Block 18, Industrial Addition to the City of Klamath Falls,
      according to the official plat thereof on file in the office of the County Clerk of Klamath
      County, Oregon.

   8. 349 Martin Street, Klamath Falls, Oregon, 97601
      Legal description:      All that portion of Lots 5 and 6, Block 21, Industrial Addition to
      the City of Klamath Falls, Oregon, in the County of Klamath, State of Oregon, more
      particularly described as follows: Beginning at the most Southerly corner of Lot 5 in
      said Block 21; thence Northwesterly along the Northeasterly line of Martin Street, a
      distance of 50 feet to the most Westerly corner of Lot 6 in said Block 21; thence
      Northeasterly along the line between Lots 6 and 7 in said Block a distance of 50 feet;
      thence Southeasterly parallel with Martin Street, a distance of 50 feet; thence
      Southwesterly along the line between Lots 5 and 6 in said Block a distance of 50 feet to
      the point of beginning.

   9. 2047 Etna Street, Klamath Falls, Oregon, 97603
      Legal description: Lot 4 in Block 4 of Pleasant View Tracts, according to the official
      plat thereof on file in the office of the County Clerk of Klamath County, Oregon.

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   10. 9728 Ben Kerns Road, Klamath Falls, Oregon, 97601
       Legal description: Lot 14 in Block 18, Second Addition to Klamath River Acres,
       according to the official plat thereof on file in the office of the County Clerk of Klamath
       County, Oregon.

   11. 226 Adams Street, Myrtle Creek, Oregon, 97457
       Legal Description: The East 90 feet of Lot 11, Wecks Tract, Douglas County, Oregon.

   12. 997 Cornutt Street, Myrtle Creek, Oregon, 97457
       Legal Description: Lot 8, Second Addition to Briggs Acres, Douglas County, Oregon.

   13. 195 SE Mill Street, Myrtle Creek, Oregon, 97457
       Legal Description: Lot 13, Block 2, P.R. Weaver Second Subdivision to the Town of
       Myrtle Creek, County of Douglas, State of Oregon.

   14. 205 SE Mill Street, Myrtle Creek, Oregon, 97457
       Legal Description: Lot 12, Block 2, P.R. Weaver 2nd Subdivision to the City of Myrtle
       Creek, Douglas County, Oregon.

   15. 644 8th Street, Myrtle Point, Oregon, 97458
       Legal Description: Lot 2, Block 2, Smith's Addition to Myrtle Point, in the City of
       Myrtle Point, Coos County, Oregon. Except the North 4 1/3 feet heretofore conveyed by
       deed recorded in Book 187, Page 429, Deed Records of Coos County, Oregon.

   16. 173 E. Everett Avenue, Sutherlin, Oregon, 97479
       Legal Description: Lots 23, 24, 25, and 26 in Block 30, Amended Plat of the Townsite
       of Sutherlin, Douglas County, Oregon.

   17. 191 W. Second Ave, Sutherlin, Oregon, 97479
       Legal Description: Lots 30, 31 and 32, Block 16, of the Amended Plat of the Townsite
       of Sutherlin, Douglas County, Oregon.
       Excepting therefrom, the Easterly 19 feet of Lot 30, Block 16, Amended Plat of the
       Townsite of Sutherlin, Douglas County, Oregon.

   18. 177 NW 6th Street, Toledo, Oregon, 97391
       Legal Description: Lots 5 and 6 and the East half of Lot 7 in Block 24 of Graham’s
       Fourth Addition to Toledo, now known as Graham’s 5th Addition to Toledo, in the
       City of Toledo, County of Lincoln and State of Oregon; Also the North 20 feet of the
       East 40 feet of Lot 13 and the North 20 feet of Lot 14, Block 24, Graham’s Fourth
       Addition to Toledo, now known as Graham’s 5th Addition to Toledo, in the City of
       Toledo, County of Lincoln and State of Oregon.




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   19. 513 SE East Slope Road, Toledo, Oregon, 97391
       Legal Description: The Part 2 of Partition Plat No. 1993-40, in the City of Toledo,
       Lincoln County, Oregon, filed for record August 31, 1995 in the Lincoln County Plat
       Records.

   20. 876 NE Highway 20, Toledo, Oregon, 97391
       Legal Description: Beginning at a point on the West line of the Jordan tract described in
       deed recorded in Book 147, page 341, Deed Records and on the North line of the Goakey
       tract described in deed recorded in Book 149, page 335, Deed Records, said point being
       North 00 degree 05' East 965 feet and North 88 degrees West 210 feet from the quarter
       section corner on the South line of Section 8, Township 11 South, Range 10 West,
       Willamette Meridian, in Lincoln County, Oregon; thence North 00 degrees 05' East along
       the West line of said Jordan tract and the West line of the Schaffer tract described in deed
       recorded in Book 119, page 360, Deed Records, 150 feet to the South line of the Schaffer
       tract described in deed recorded in Book 110, page 447, Deed Records; thence North 88
       degrees West along the South line of said Schaffer tract (Book 110, page 447, Deed
       Records) and the South line of the Renner tract described in deed recorded in Book 154,
       page 379, Deed Records and the South line of the Moore tract described in deed recorded
       in Book 160, page 271, Deed Records, a distance of 300 feet; thence South 7 degrees 58'
       West 151.5 feet to the North line of the Hazel Fay tract described in deed recorded in
       Book 89, page 238, Deed Records; thence South 88 degrees East along the North line of
       said Fay tract and the North line of the Johansen tract described in deed recorded in Book
       14, page 356, Deed Records, and the North line of aforementioned Goakey 321 feet
       more or less, to the point of beginning, in the City of Toledo, County of Lincoln, State of
       Oregon, excepting any portion lying within US. Highway 20.

   21. 150 SE Mill Street, Myrtle Creek, Oregon, 97457
       Legal Description: Lots 3 and 4, Block 3, P.R. Weaver 2nd Subdivision to the City of
       Myrtle Creek, Douglas County, Oregon.

   22. 1303 SE Strong Avenue, Roseburg, Oregon, 97470
       Legal Description: Lots 6 and 7, Block 20, Miller’s Addition to the City of Roseburg,
       Douglas County, Oregon.

       2.    The forfeited property is to be held by the United States in its secure custody during

the pendency of this action.

       3.    Pursuant to 21 U.S.C. ' 853(n)(1) and Rule 32.2(b)(6) of the Federal Rules of

Criminal Procedure, the United States shall publish on the official government internet site,

www.forfeiture.gov, notice of this order, notice of the U.S. Marshal’s and/or Treasury=s intent to


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dispose of the property in such manner as the Attorney General and/or Secretary of the Treasury

may direct, and notice that any person, other than the defendant, having or claiming a legal

interest in any of the above-listed forfeited property must file a petition with the court within

thirty (30) days of the final publication of notice or of receipt of actual notice, whichever is

earlier. This notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner's alleged interest in the property. The petition must be signed by the petitioner

under penalty of perjury, and shall set forth the nature and extent of the petitioner's right, title, or

interest in each of the forfeited properties and any additional facts supporting the petitioner's

claim and the relief sought. The United States may also, to the extent practicable, provide direct

written notice to any person known to have alleged an interest in property that is the subject of

this Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so

notified.

        4.    Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture shall become final as to the defendant at the time of sentencing

and shall be made part of the sentence and included in the judgment. Upon entry of this Order,

the United States is authorized to conduct discovery in identifying, locating, or disposing of the

asset(s) in accordance with Federal Rule of Criminal Procedure 32.2(b)(3).

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       5.    Following the Court's disposition of all petitions filed, or if no such petitions are filed

within the time prescribed by law, upon proof of publication and proof of notice to any persons

known to have alleged an interest in the property, the United States shall have clear title to the

property and may warrant good title to any subsequent purchaser or transferee as provided in

Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure.

       IT IS SO ORDERED this _____
                              17th day of June 2021.



                                         s/Michael J. McShane
                                        _______________________________
                                        HONORABLE MICHAEL McSHANE
                                        United States District Court Judge


Presented by:

SCOTT ERIK ASPHAUG, OSB #833674
Acting United States Attorney

s/Gavin W. Bruce
GAVIN W. BRUCE, OSB #113384
Assistant United States Attorney




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